Case 1:23-cr-20036-KMM Document 56 Entered on FLSD Docket 08/11/2023 Page 1 of 14




                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF FLORIDA

  UNITED STATES OF AMERICA,
         Plaintiff,

  v.                                           Case No.: 1:23-cr-20036-KMM

  DANIELA RENDON,
         Defendant.
                                        /

       DEFENDANT DANIELA RENDON’S SENTENCING MEMORANDUM

         Defendant DANIELA RENDON, by and through the undersigned counsel,

  hereby submits this Sentencing Memorandum and the attached exhibits for this

  Honorable Court’s consideration. Ms. Rendon respectfully asks this Court to grant

  a downward variance from her advisory sentencing guidelines and impose a sentence

  of five years’ probation based on the factors found in 18 U.S.C. § 3553(a). Ms.

  Rendon submits that a five-year probationary term is warranted under the

  circumstances of this case and sufficient for satisfying the sentencing purposes set

  forth in § 3553(a).

         I. PRELIMINARY STATEMENT

         On April 25, 2023, Ms. Rendon pled guilty to one count of wire fraud in

  violation of 18 U.S.C. § 1343 pursuant to a written plea agreement with the

  Government. The factual circumstances of the offense and the terms of the written

  plea agreement are sufficiently discussed in Ms. Rendon’s Presentence Investigation
Case 1:23-cr-20036-KMM Document 56 Entered on FLSD Docket 08/11/2023 Page 2 of 14




  Report (PSR) (Doc. 48). Ms. Rendon’s sentencing hearing is currently scheduled for

  August 17, 2023. Ms. Rendon respectfully asks this Court to consider this

  memorandum and attached exhibits in support of her request for a downward

  variance sentence of five years’ probation.

        II. SENTENCING GUIDELINES CALCULATION

        Ms. Rendon’s PSR calculates her total offense level as a level 22 with a

  criminal history category of I (Ms. Rendon has no prior criminal history). As a result,

  Ms. Rendon is facing an advisory sentencing guidelines range of 41 to 51 months of

  imprisonment. There are no unresolved objections. There is no minimum mandatory

  penalty for Ms. Rendon’s offense, and the statutory maximum is 20 years’

  imprisonment.

        III. REQUEST FOR DOWNWARD VARIANCE

        For the reasons set forth below, this Court should grant a downward variance

  sentence based on Ms. Rendon’s extraordinary acceptance of responsibility and

  post-arrest rehabilitative efforts, as well as other relevant factors of 18 U.S.C. §

  3553(a). In light of Ms. Rendon’s extraordinary acceptance of responsibility,

  commitment to rehabilitation, overwhelming remorse, dedication to her family and

  children, and other redeeming character traits, Ms. Rendon respectfully requests that

  this Court impose a below-guidelines sentence of five-years’ probation, which is




                                            2
Case 1:23-cr-20036-KMM Document 56 Entered on FLSD Docket 08/11/2023 Page 3 of 14




  sufficient, but not greater than necessary, to comply with the requirements of 18

  U.S.C. § 3553(a).

         a) The Post-Booker Sentencing Framework

        In the wake of United States v. Booker, 543 U.S. 220 (2005), the Federal

  Sentencing Guidelines are advisory only. Judges now have the power to impose

  sentences that are no greater than necessary to satisfy the statutory purposes of

  sentencing, to consider all of the characteristics of the offender and circumstances

  of the offense, and to reject advisory guidelines that are not based on national

  sentencing data and empirical research. See Booker, 543 U.S. 220; Rita v. United

  States, 127 S.Ct. 2456 (2007); Gall v. United States, 552 U.S. 38, 50 (2007);

  Kimbrough v. United States, 128 S.Ct. 558 (2007).

        A district court “should begin all sentencing proceedings by correctly

  calculating the applicable Guidelines range,” but the court “may not presume that

  the Guidelines range is reasonable.” Gall v. United States, 552 U.S. 38, 50 (2007)

  (emphasis added). A district court has the discretion to conclude that the resulting

  advisory range “yields a sentence ‘greater than necessary’ to achieve § 3553(a)’s

  purposes, even in a mine-run case.” Kimbrough, 128 S.Ct. at 575 (2007). Though

  this Court is required to consider the factors under 18 U.S.C. § 3553(a) set forth

  below, it need not accept the “utter travesty of justice that sometimes results from

  the Guidelines’ fetish with abstract arithmetic.” United States v. Adelson, 441 F.



                                           3
Case 1:23-cr-20036-KMM Document 56 Entered on FLSD Docket 08/11/2023 Page 4 of 14




  Supp. 2d 506 (S.D.N.Y. 2006).

        Put differently, after Booker, this Court is unencumbered in its ability “to

  consider every convicted person as an individual and every case as a unique study

  in the human failings that sometimes mitigate, sometimes magnify, the crime and

  the punishment to ensue.” Gall, 552 U.S. at 53 (quoting Koon v. United States, 518

  U.S. 81 (1996)). In fact, the use of the Guidelines in any manner other than an

  advisory function violates the defendant’s Sixth Amendment rights. Booker, 543

  U.S. at 244-45 (Part Two, Breyer, J.).

         b) This Court should grant a downward variance sentence based on Ms.
            Rendon’s extraordinary acceptance of responsibility and post-arrest
            rehabilitative efforts.

        When fashioning a sentence, a district court may consider relevant post-

  offense conduct. See Gall, 552 U.S. at 600. Thus, a sentencing court can grant a

  downward variance in cases of “extraordinary” acceptance of responsibility, even

  where a defendant has already received credit for acceptance of responsibility

  pursuant to USSG § 3E1.1. See E.g., United States v. Gardellini, 545 F.3d 1089,

  1095 (D.C. Cir. 2008) (district court properly imposed a below-guidelines sentence

  of probation in part because defendant “cooperated with authorities and accepted

  responsibility for his crimes to an extraordinary degree”); United States v. Brown,

  985 F.2d 478, 482-83 (9th Cir. 1993) (sentencing court can depart downward from

  the guidelines range if it determines that the two-point reduction did not adequately



                                           4
Case 1:23-cr-20036-KMM Document 56 Entered on FLSD Docket 08/11/2023 Page 5 of 14




  reflect acceptance of responsibility); United States v. Milne, 384 F. Supp. 2d 1309,

  1312 (E.D. Wis. 2005).

        For instance, in United States v. Milne, a bank fraud case, the district court

  recognized that Sentencing Commission promulgated USSG § 5K2.0(d)(2) to

  prohibit downward departures for acceptance of responsibility beyond those

  available under USSG § 3E1.1. Id. Nevertheless, the court concluded that an

  additional downward variance was warranted on the facts of the case and reasoned

  as follows:

        Where appropriate, courts may grant additional consideration to
        defendants who demonstrate acceptance beyond that necessary to
        obtain a two or three level reduction under § 3E1.1. This is so because
        such conduct bears directly on their character, § 3553(a)(1), and on how
        severe a sentence is necessary to provide deterrence and punishment, §
        3553(a)(2). Further, courts should encourage offenders to mitigate
        their misconduct voluntarily, whether by admitting it, paying restitution
        or making efforts to address substance abuse, mental health or other
        problems that contributed to it.

  Id. at 1312.

        Other courts have reached similar conclusions. United States v. Smith, 311 F.

  Supp. 2d 801 (E.D. Wis. 2004) (two-level downward departure granted even though

  defendant also received offense level reduction for acceptance of responsibility,

  where defendant demonstrated self-improvement, fundamental change in attitude,

  and complete withdrawal from criminal drug distribution lifestyle in three years

  before he was arrested and before he knew he was under investigation); see also



                                           5
Case 1:23-cr-20036-KMM Document 56 Entered on FLSD Docket 08/11/2023 Page 6 of 14




  United States v. Kim, 364 F.3d 1235 (11th Cir. 2004) (payment of $280,000

  restitution by defendants, a husband and wife, after they pled guilty was

  extraordinary enough to justify downward departure from 24 months to probation

  and home detention because defendants’ conduct demonstrated their sincere remorse

  and acceptance of responsibility).

        In the instant case, Ms. Rendon has expressed sincere remorse for her criminal

  conduct and the long-reaching effects that it had on society during a time of

  unprecedented hardship. In her written statement to the Court, Ms. Rendon reflects

  on how her covid-relief fraud directly affected struggling businesses and employees

  by removing an opportunity for them to seek legitimately needed assistance. See

  Exhibit 1, Statement of Daniela Rendon. She further expressed her intention to atone

  for her crime and repay society for the harm she caused . Id.

        Ms. Rendon has undertaken substantial efforts to thoroughly understand the

  impact of her crime and how it contributed to the various hardships that everyday

  hardworking Americans endured during the Covid-19 pandemic. Ms. Rendon spent

  considerable time researching and educating herself on the pandemic’s effects on

  society as well as the intended purpose of Covid-19 economic relief programs. Ms.

  Rendon used this information to prepare an extensive “thesis” that examines the

  impact of Covid-19 and economic relief fraud on society. See Exhibit 2, Impact of

  Covid-19 by Daniela Rendon. However, the most significant aspect of Ms. Rendon’s



                                           6
Case 1:23-cr-20036-KMM Document 56 Entered on FLSD Docket 08/11/2023 Page 7 of 14




  rehabilitative efforts is the comprehensive plan that she developed to remedy the

  harm she caused to society. Ms. Rendon’s thesis discusses the plan in detail, and it

  is summarized as follows:

         In envisioning a brighter future, I have developed a comprehensive plan
         that involves non-profit organizations and engages charities to make a
         positive impact during economic and natural disasters. As a real estate
         agent passionate about community service, I aim to channel my skills
         toward helping families and businesses affected by crises.

         This plan focuses on three key areas: disaster preparedness and
         response, mental health support, and divorce counseling. By leveraging
         data-driven strategies, I hope to create a resilient and supportive
         community that can weather the storms of life.

         During times of economic distress and natural disasters, I will actively
         contribute to non-profit organizations that provide immediate
         assistance to struggling small businesses and families. Using my real
         estate experience, I aim to help these businesses find affordable and
         sustainable solutions to get back on their feet. Additionally, I will work
         closely with these organizations to identify long-term support
         mechanisms to prevent similar hardships in the future.

  Id. at 26.

         Ms. Rendon undertook extensive efforts to atone for her crime and has shown

  genuine remorse. It is apparent from her written statement and thesis that Ms.

  Rendon fully realizes that her offense was not a victimless crime against the

  government, but one committed against everyday Americans. Ms. Rendon’s post-

  arrest efforts to rehabilitate herself are a testament to her character and suggests that

  she is unlikely to engage in future criminal behavior. Because Ms. Rendon’s

  advisory sentencing guidelines calculation does not account for this uncommon and

                                             7
Case 1:23-cr-20036-KMM Document 56 Entered on FLSD Docket 08/11/2023 Page 8 of 14




  substantial degree of acceptance of responsibility, this Court should grant a

  downward variance.

         c) The factors under 18 U.S.C. § 3553(a) weigh in favor of a downward
            variance from the Sentencing Guidelines Range.

        Congress has identified four “purposes” of sentencing: punishment,

  deterrence, incapacitation, and rehabilitation. 18 U.S.C. § 3553(a)(2). To achieve

  these ends, § 3553(a) requires sentencing courts to consider not only the advisory

  Guidelines range, but also the facts of a specific case through the lens of seven

  factors, including:

            1. The nature and circumstances of the offense and the history and
               characteristics of the defendant;

            2. The need for the sentence imposed—

                  a. to reflect the seriousness of the offense, to promote respect
                     for the law, and to provide just punishment for the offense;
                  b. to afford adequate deterrence to criminal conduct;
                  c. to protect the public from further crimes of the defendant;
                     and
                  d. to provide the defendant with needed educational or
                     vocational training, medical care, or other correctional
                     treatment in the most effective manner;

            3. The kinds of sentences available;

            4. The kinds of sentence and the sentencing range established . . .;

            5. Any pertinent [Sentencing Commission] policy statement . . .;

            6. The need to avoid unwarranted sentence disparities among
               defendants with similar records who have been found guilty of
               similar conduct; and

                                            8
Case 1:23-cr-20036-KMM Document 56 Entered on FLSD Docket 08/11/2023 Page 9 of 14




           7. The need to provide restitution to any victims of the offense.

  § 3553(a)(1)-(7).

        The relevant statutory factors of § 3553(a), when applied to Ms. Rendon’s

  case, weigh in favor of a downward variance from her advisory sentencing

  guidelines range.

                      The Nature and Circumstances of the Offense

        Ms. Rendon pled guilty to a serious offense. The severity and extent of her

  crime cannot be overstated, and she makes no attempt at excusing or minimizing her

  crime. This Court must consider the nature of Ms. Rendon’s crime. However, this

  Court must also consider a defendant’s personal history and redeeming

  characteristics when fashioning its sentence.

                      The History and Characteristics of Ms. Rendon

        As Judge Rakoff noted in United States v. Adelson, 441 F. Supp. 2d 506, 513-

  14 (S.D.N.Y. 2006), the importance of considering a defendant’s redeeming

  characteristics reaches its zenith at the moment the court determines the sentence to

  be imposed. Examining Ms. Rendon’s history and characteristics reveals a life

  dedicated to serving her family and devotion to her children. See Letters of Support,

  attached as composite Exhibit 3.

        Ms. Rendon’s letters of support all consistently describe or reference her as

  an individual who is devoted to her family. Ms. Rendon’s older sister, Paula Rendon,

                                            9
Case 1:23-cr-20036-KMM Document 56 Entered on FLSD Docket 08/11/2023 Page 10 of 14




   writes the following about her sister:

         As a wife, Daniela is devoted to her home, her husband, and her
         children. With God as her guiding light, she has built a beautiful
         household based on respect, love, and reverence. Moreover, Daniela
         instills in her children the values of respect and kindness, ensuring they
         grow into respectful individuals.

   See Ex. 3, Letter from Paula Rendon.

         Ms. Rendon’s sister-in-law, Lady-Patricia Reyes, similarly described Ms.

   Rendon’s dedication to her family:

         As a mother, she places a high value on her kids' health and happiness.
         She is actively involved in ensuring that her kids have a decent
         education and are interested in extracurricular activities. She places a
         strong emphasis on family and instills these values in the kids. She (the
         family as a whole) spent every Thanksgiving with us up until last year.
         Also, my niece and nephew spent 3 weeks with me (us) last summer
         and attended a summer camp (in Massachusetts), they were able to
         engage with other kids and learn other cultures.

   See Ex. 3, Letter from Lady Patricia Reyes; see also Ex. 3, Letter from Veronica

   Vallarino-Reyes (“As a mother, she demonstrates unwavering dedication to her

   children. I have seen her consistently prioritize their well-being, providing them with

   a nurturing and supportive environment. Her decision-making skills and

   involvement in their education and extracurricular activities are commendable.”).

         The letters of support also describe Ms. Rendon’s integrity and positive

   character traits. See Ex. 3, Letter from Paula Rendon (“While Daniela may have

   made mistakes against her nation, she is by no means a danger to humanity. Her

   heart is filled with love, respect, and understanding for others . . .”); see also Ex. 3,

                                              10
Case 1:23-cr-20036-KMM Document 56 Entered on FLSD Docket 08/11/2023 Page 11 of 14




   Letter from Veronica Vallarino-Reyes (“Daniela Rendon is a person of impeccable

   character, integrity . . .”); see also Ex. 1, Letter from Mabel Pena (“I can confirm

   that in the time I have known her, Daniela has been a reliable, trustworthy and decent

   person.”).

         In determining Ms. Rendon’s sentence, this Court should consider her

   unwavering commitment to her family, particularly her dedication to her children,

   and her positive character traits described in her letters of support. These

   circumstances warrant a downward variance from her applicable sentencing

   guidelines range.

                           The Need for the Sentence Imposed

         (a) To reflect the seriousness of the offense, to promote respect
             for the law, and to provide just punishment for the offense

         The Court must impose a sentence that reflects the seriousness of the offense,

   promotes respect for law and affords adequate deterrence to protect the public from

   similar conduct on the part of others. 18 U.S.C. § 3553(a). Ms. Rendon respectfully

   submits that a sentence of five-years’ probation is significant and satisfies these

   requirements under the circumstances of this case.

         (b) To afford adequate deterrence to criminal conduct

         Although § 3553(a) requires the Court to consider the need for deterrence,

   studies have shown that there is little to no evidence that supports the notion that a

   harsher sentence would have any deterrent effect. See David Weisburd et al., Specific

                                            11
Case 1:23-cr-20036-KMM Document 56 Entered on FLSD Docket 08/11/2023 Page 12 of 14




   Deterrence in a Sample of Offenders Convicted of White Collar Crimes, 33

   CRIMINOLOGY 587 (1995); Zvi D. Gabbay, Exploring the Limits of the Restorative

   Justice Paradigm: Restorative Justice and White Collar Crime, 8 CARDOZO J.

   CONFLICT RESOL. 421, 448-49 (2007) (“[T]here is no decisive evidence to support

   the conclusion that harsh sentences actually have a general and specific deterrent

   effect on potential white-collar offenders.”). Indeed, these studies demonstrate that

   the deterrent effect of these ever-longer sentences for white collar crime has been

   minimal. Id.

            The theory of general deterrence is based on the flawed premise that lengthy

   prison sentences deter crime. Over the years, this flawed premise has resulted in the

   mass incarceration of individuals in the United States. Dr. Oliver Roeder et

   al., What Caused the Crime Decline?, Brennan Center for Just., 22-23 (Feb. 12,

   2015), available at https://www.brennancenter. org/publication/what-caused-crime-

   decline. Despite this mass incarceration, studies have shown no correlation between

   punishment and reductions in crime. See id. Finally, in imposing “just punishment”

   for an offense, the Court should not disregard the additional penalties and hardships

   that will accompany a felony conviction.

            Ms. Rendon submits that a sentence of imprisonment is unnecessary, as the

   foregoing information suggests that it would have not have any deterring effect on

   crime.



                                             12
Case 1:23-cr-20036-KMM Document 56 Entered on FLSD Docket 08/11/2023 Page 13 of 14




          (c) To protect the public from further crimes of the defendant

          Ms. Rendon poses a low risk of recidivism based on her lack of prior criminal

   history, genuine remorse, post-arrest rehabilitative efforts, and absence of incidents

   while on supervised pretrial release. As such, a sentence of incarceration is

   unnecessary and would not have any greater specific deterrence effect.

             The Need to Provide Restitution to Any Victims of the Offense.

          Restitution will be ordered and owed to the Small Business Administration in

   the amount of $198,990. Ms. Rendon has indicated that she will diligently make

   restitution payments and attempt to pay the amount off as quickly as she can. A

   probationary sentence will enable Ms. Rendon to prioritize paying off this

   restitution.

                                     CONCLUSION

          Based on the foregoing reasons, Ms. Rendon respectfully requests that this

   Court grant a downward variance and impose a sentence of five years’ probation,

   which is sufficient, but not greater than necessary, to comply with the requirements

   of 18 U.S.C. § 3553(a).

                                           Respectfully submitted,

                                          /s/ Asad Ali
                                          Asad Ali, Esq.
                                          Florida Bar No. 111887
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                                            13
Case 1:23-cr-20036-KMM Document 56 Entered on FLSD Docket 08/11/2023 Page 14 of 14




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                              CERTIFICATE OF SERVICE

          I hereby certify that on July 12, 2023, I electronically filed the foregoing with

   the Clerk of Court by using the CM/ECF system, which will send a Notice of

   Electronic Filing to all parties in this case.



                                             /s/ Asad Ali
                                             Asad Ali, Esq.
                                             Florida Bar No. 111887




                                               14
